854 F.2d 1318Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.John Raymond MALONE, Defendant-Appellant.
    No. 88-7551.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 15, 1988.Decided July 26, 1988.
    
      John Raymond Malone, appellant pro se.
      Robert Holt Edmunds, Jr., Office of U.S. Attorney, for appellee.
      Before CHAPMAN, WIDENER, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      John Raymond Malone appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Malone, CA-87-633-D;  CR-84-87-01-D (M.D.N.C. Feb. 4, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    